

People v Williams (2020 NY Slip Op 01855)





People v Williams


2020 NY Slip Op 01855


Decided on March 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 13, 2020

PRESENT: SMITH, J.P., CENTRA, LINDLEY, CURRAN, AND DEJOSEPH, JJ. (Filed Mar. 13, 2020.) 


KA 19-00863.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDANIEL WILLIAMS, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Judgment unanimously affirmed. Counsel's motion to be relieved of assignment granted (see People v Crawford , 71 AD2d 38 [4th Dept 1979]). (Appeal from Judgment of Wyoming County Court, Michael M. Mohun, J. - Promoting Prison Contraband, 1st Degree).








